                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSSETS

PRESIDENT AND FELLOWS OF HARVARD   )
COLLEGE,                           )
                                   )
          Plaintiff,               )
     v.                            )
                                     Case No. 1:25-cv-11048-ADB
                                   )
UNITED STATES DEPARTMENT OF HEALTH )
AND HUMAN SERVICES, et al.,        )
                                   )
          Defendants.              )

                            DECLARATION OF PEGGY NEWELL

I, Peggy Newell, declare as follows:

       1.      I am Vice President and Deputy to the President in the Office of the President and

Provost at Harvard University (“Harvard” or “the University”). I have held this position since

January 2024, having previously served as Deputy Provost since 2012. I make this declaration in

support of Harvard’s Motion for Summary Judgment.

       2.      As Vice President and Deputy to the President, I have personal knowledge of the

contents of this declaration, or have knowledge of the matters based on my review of information

and records gathered by Harvard personnel, and could testify thereto.

       3.      In January 2024, then-interim President Garber and the Deans of Harvard’s schools

issued Guidance on Protest and Dissent under the University-wide Statement on Rights and

Responsibilities.1 “[U]nless a particular School makes an explicit exception, demonstrations and

protests are ordinarily not permitted in classrooms and other spaces of instruction; libraries or other

spaces designed for study, quiet reflection, and small group discussion; dormitories, residence


1
   Statement of Interim President and Deans on University Rights and Responsibilities, Harvard
Univ.: Off. of the President (Jan. 19, 2024), https://perma.cc/2ND4-HHDV.


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halls, or dining halls where students live and take their meals; offices where the work of the

University is carried out; or other places in which demonstrations and protests would interfere with

the normal activities of the University.”2 “[B]locking ingress or egress to campus buildings,

classrooms, administrative offices, or other spaces is forbidden, as is blocking or otherwise

interfering with the free flow of vehicular, bicycle, or pedestrian traffic.”3

          4.   This Guidance was publicly reported in the Harvard Crimson on January 20, 2024.4

          5.   In August 2024, Harvard issued updated Rules for Use of Campus Spaces, which

reaffirmed that “[e]vents, programs, and activities . . . must not impede or block ingress or egress

to or movement within and around campus buildings, classrooms, administrative offices, or other

spaces.”5 The Campus Use Rules also prohibit unauthorized “[c]amping . . . with or without a tent

or other temporary structure,” and unauthorized “exhibits or displays” on campus.6

          6.   The issuance of these Rules was publicly reported in Harvard Magazine on August

2, 2024.7

          7.   In an interview printed in the Harvard Gazette in August 2024, Harvard President

Alan Garber explained that because “[e]vents in the Middle East . . . will heighten tensions on

campus,” Harvard has “unfinished business in combating hate and bias, especially toward


2
    Id.
3
    Id.
4
   Emma H. Haidar & Cam E. Kettles, Senior Harvard Officials Clarify Protest Guidelines as
Students Return to Campus, Harvard Crimson (Jan. 20, 2024), https://perma.cc/3SSP-JUSF.
5
    Campus Use Rules, Harvard Univ.: Off. of the Exec. Vice President, https://perma.cc/2M4M-
ZS2C; see Rules for Use of Campus Spaces, Harvard Univ.: Off. of the Exec. Vice President (Aug.
1, 2024), https://perma.cc/3HTH-S4B2.
6
    Campus Use Rules, supra n.5.
7
    Max J. Krupnick, New Rules for Campus Use, Harvard Magazine (Aug. 2, 2024),
https://perma.cc/2A6Y-L453.


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members of our community who are Muslim, Arab, Palestinian, Jewish, and Israeli.” He further

emphasized that Harvard has “announced several initiatives and [is] taking significant steps to

address these issues, including through the activities of the task forces that will issue final reports

and recommendations this semester, but achieving our goals will take time.”8

       8.      In September 2024, Harvard released Guidance explaining that online “doxxing”

violates the University’s prohibitions on “intense personal harassment” and constitutes bullying

under its Non-Discrimination and Anti-Bullying Policies.9

       9.      The issuance of this Guidance was publicly reported in the Harvard Crimson on

September 5, 2024.10

       10.     In November 2024, Harvard also issued a “Frequently Asked Questions” statement

(“FAQs”) on “Protests in Libraries” explaining how its Protest and Dissent Guidelines found in

the University-wide Statement on Rights and Responsibilities apply to protests in Harvard’s

Libraries. The FAQs underscore that when a space is used to “express a shared message,” even if

the participants are silent, the demonstration “interfere[s] with the room’s purpose as a place of

study and research” and violates University policies.11

       11.     Harvard also made changes to clarify the scope of prohibited conduct aimed at

Jewish and Israeli students. In January 2025, Harvard committed to take account of the


8
    Alvin Powell, Harvard Is Up to the Challenge, Garber Says, Harvard Gazette (Aug. 26, 2024),
https://perma.cc/JH5P-2Q9K.
9
   Guidance on Addressing Online Harassment, Harvard Univ.: Off. of the President (Sept. 5,
2024), https://perma.cc/25YW-EFN2.
10
    Madeleine A. Hung & Azusa M. Lippit, Harvard Announces New Guidance on Doxxing,
Online Harassment Following Student Criticism, Harvard Crimson (Sept. 5, 2024),
https://perma.cc/E3JL-XDCU.
11
    Frequently Asked Questions: Protests in Libraries, Harvard Libr. (Dec. 10, 2024),
https://perma.cc/AK9P-GPHH.


                                                  3
International Holocaust Remembrance Alliance’s (“IHRA”) definition of antisemitism in applying

its anti-harassment policies and in disciplinary proceedings.12 The United States, as a member of

IHRA, uses this definition and has encouraged other governmental and international organizations

to use it.

           12.   This commitment was publicly reported in the New York Times on January 21,

2025.13

           13.   In March 2025, Harvard released updated “Frequently Asked Questions” clarifying

that both Jewish and Israeli identities are covered by the University’s Non-Discrimination and

Anti-Bullying Policies, that the IHRA definition of antisemitism will be used, and that IHRA

examples will be considered in assessing incidents to the extent that those examples are relevant

to show discriminatory intent.14 The guidance also made clear that the Non-Discrimination Policy

applies to conduct targeting Zionists.15

           14.   In Spring 2025, the University provided training on this guidance to those who

receive and review complaints under the University’s Non-Discrimination and Anti-Bullying

(“NDAB”) Policies.16




12
    Press Release, Harvard Univ., Harvard and Students Against Antisemitism Announce
Settlement of Lawsuit (Jan. 21, 2025), https://perma.cc/GFL7-MYD8; Press Release, Harvard
Univ., The Brandeis Center and Jewish Americans for Fairness in Education Agree with Harvard
to Settle Title VI Litigation (Jan. 21, 2025), https://perma.cc/RJ89-C42T.
13
    Vimal Patel, Harvard Adopts a Definition of Antisemitism for Discipline Cases, N.Y. Times
(Jan. 21, 2025), https://perma.cc/7CXD-KQ2Z.
14
  Frequently Asked Questions, Harvard Univ.: Off. for Cmty. Conduct, https://perma.cc/3NKY-
LD97.
15
     Id.
16
    Id.; Revising and Implementing Policies, Procedures, and Training, Harvard Univ.,
https://perma.cc/DB36-LBRF.


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        15.    Harvard has agreed to “prepare a public annual report for the next five years that

covers Harvard’s response to discrimination or harassment based on Title VI-protected traits and

will provide transparency regarding discipline outcomes in Title VI matters” to the extent

permitted by student privacy laws; committed “to providing additional resources to the study of

antisemitism and will host an annual academic symposium on the topic of antisemitism”; and

committed to providing “expert training on combating anti-Semitism and the IHRA definition for

[Office for Community Conduct] staff involved in reviewing complaints of discrimination.”17

        16.    Harvard has also taken steps to increase the ability to utilize a centralized process

and to strengthen its disciplinary procedures. In April 2025, Harvard’s Governing Boards (the

Corporation and the Board of Overseers) empowered the President to call on a faculty panel of the

University Committee on Rights and Responsibilities (“UCRR”) to investigate, find facts, and

impose discipline in cases involving students from multiple Schools and alleged violations of the

University-wide Statement on Rights and Responsibilities or Campus Use Rules.18 This

centralized discipline reform builds on steps taken regarding the UCRR in July 2024 that

established procedures to standardize fact-finding investigations for incidents involving students

from two or more Schools.19

        17.    Harvard has increased its vigilance and coordination with the whole campus

community to assess threats and has increased coordination between the Harvard University Police

Department and local and federal law enforcement to assess and respond to any potential or actual


17
     Harvard and Students Against Antisemitism Announce Settlement of Lawsuit, supra n.12.
18
   Update on University Committee on Rights and Responsibilities, Harvard Univ.: Off. of the
President (Apr. 24, 2025), https://perma.cc/ZD9M-B6JL; Revising and Implementing Policies,
Procedures, and Training, supra n.16.
19
   University Committee on Rights and Responsibilities: Fact-finding Procedures (July 18,
2024), https://perma.cc/WR4S-JNRW.


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threats to the Harvard community. When circumstances warrant, the University restricts access to

Harvard Yard (the center of its Cambridge campus) to limit outside disruptions, better manage

campus spaces, and ensure student safety.20

        18.    Harvard has enforced its policies and procedures against violators.

                   a. During the fall 2024 semester and in connection with protests in Harvard’s

                       undergraduate, law school, and divinity school libraries, Harvard suspended

                       library access for dozens of students and faculty members who violated

                       University policies.

                   b. In March 2025, Harvard terminated a University employee who tore down

                       a Chabad poster (which showed images of Israeli hostages) in violation of

                       Harvard’s policy against tampering with or removing approved displays.

                   c. On April 2, 2025, following a protest on campus, Harvard placed the

                       Harvard Undergraduate Palestine Solidarity Committee (“PSC”) on

                       probation and banned the organization from hosting public events through

                       June 30, 2025 in response to policy violations.

                   d. On April 22, 2024, Harvard suspended the PSC for the remainder of the

                       spring semester for co-sponsoring a demonstration on April 19, 2024 in

                       Harvard Yard with an unrecognized student organization, failing to register

                       the demonstration with the Office of Student Engagement, and violating the

                       Responsible Use of Space Policy.

        19.    Each of these disciplinary actions was publicly reported. The Harvard Crimson

reported on suspensions of library access for students and faculty on October 25, 2024 and


20
     Revising and Implementing Policies, Procedures, and Training, supra n.16.


                                                6
November 13, 2024.21 On March 10, 2025, the Harvard Crimson reported on the University

employee terminated for tearing down a Chabad poster.22 The Harvard Crimson reported on

Harvard’s placement of the PSC on probation in response to policy violations on April 3, 2025.23

The Harvard Crimson reported on Harvard’s suspension of the PSC on April 23, 2024.24

       20.     The University adopted its Institutional Voice Principles in May 2024 and will no

longer “issue official statements about public matters that do not directly impact the University’s

core function” as an academic institution. The University remains able to speak on issues relevant

to its core function, such as free and open inquiry, teaching, and research.25

       21.     Harvard has stated that it will not divest from Israel or Israeli companies in its

investments.

       22.     The Harvard Chan School of Public Health announced in March 2025 that it has

allowed its partnership with Birzeit University in the West Bank to lapse.



21
   Neil H. Shah, Faculty Members Suspended From Harvard’s Main Library After ‘Study-In’
Protest, Harvard Crimson (Oct. 25, 2024), https://perma.cc/D3RV-8HJR; S. Mac Healey & Saketh
Sundar, HLS Banned 60 Students From Its Library for a ‘Study-In.’ Dozens Just Did It Again.,
Harvard Crimson (Oct. 25, 2024), https://perma.cc/GH98-8GAJ; Rachael A. Dziaba & Aisatu J.
Nakoulima, Students Suspended from Harvard Divinity School Library After Pray-In, Harvard
Crimson (Nov. 13, 2024), https://perma.cc/3RPA-TVNH.
22
   Samuel A. Church & Cam N. Srivastava, Librarian Who Removed Chabad Poster Is No
Longer Employed at Harvard, Harvard Crimson (Mar. 10, 2025), https://perma.cc/U4VJ-AYTJ.
23
    Samuel A. Church, Elyse C. Goncalves & Cam N. Srivastava, Harvard Places Palestine
Solidarity Committee on Probation Over Tuesday HOOP Rally, Harvard Crimson (Apr. 3, 2025),
https://perma.cc/SR8Q-K6CA.
24
    Michelle N. Amponsah & Joyce E. Kim, Harvard Suspends Palestine Solidarity Committee
Amid Wave of Protests on College Campuses, Harvard Crimson (Apr. 23, 2024),
https://perma.cc/6CYD-3J4C.
25
    Harvard University Institutional Voice Principles, Harvard Univ.: Off. of the Provost,
https://perma.cc/7GBU-AHQM; see Strengthening Academic and Residential Life, Harvard Univ.,
https://perma.cc/3ETR-MRST; Institutional Voice, Harvard Univ.: Off. of the President (May 28,
2024), https://perma.cc/N2GV-TMBM.


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        23.    The Harvard Chan School of Public Health’s decision to allow its partnership with

Birzeit University to lapse was publicly reported in the Harvard Gazette on March 26, 2025.26

        24.    Harvard has also committed to hosting an academic symposium on antisemitism

and providing space to the Louis D. Brandeis Center for Human Rights Under Law to host a day-

long campus event, with both events occurring on an annual basis for the next three years. Harvard

will dedicate additional academic resources and opportunities to studying antisemitism and

Hebrew and Judaic studies, including as a part of Harvard Law School’s Julis-Rabinowitz Program

on Jewish and Israeli Law.27

        25.    Harvard has conducted numerous trainings on antisemitism for members of the

Harvard community,28 and has awarded grants through the President’s Building Bridges Fund to

student-led projects focused on building community across different faiths, cultures, and

backgrounds.29 The projects include an interfaith luncheon forum hosted by Jewish and Muslim

student leaders at Harvard Law School titled “Linked Traditions: Islamic and Judaic Law.”

        26.    President Garber charged a Presidential Task Force on Combating Antisemitism

and Anti-Israeli Bias (“Harvard Task Force”) in January 2024 with “identifying the root causes of

and contributing factors to bias-based behaviors on campus” and “recommending approaches to




26
   A Year into Role, Chan School Dean Focused on Driving Change Amid Deep Challenges,
Harvard Gazette (Mar. 26, 2025), https://perma.cc/ZDK2-YFZR.
27
     Strengthening Academic and Residential Life, supra n.25.
28
   Revising and Implementing Policies, Procedures, and Training, supra n.16; Supporting
Belonging and Promoting Respectful Dialogue, Harvard Univ., https://perma.cc/V6TL-R42G.
29
    President’s Building Bridges Fund, Harvard Univ.: Off. of the President,
https://perma.cc/99QL-HGC9; Supporting Belonging and Promoting Respectful Dialogue, supra
n.28; Student-led Projects Tackle Campus Divisions, Harvard Gazette (Feb. 26, 2025),
https://perma.cc/8GZD-R9GR.


                                                8
combat bias and to mitigate its impact on campus.”30 On April 29, 2025, the Harvard Task Force

released a 311-page report that, while noting “numerous examples of students, staff, and faculty

dedicated to renewing and strengthening the Harvard community,” acknowledged the “alienating

and hostile atmosphere” experienced by many Jewish and Israeli students at Harvard, as well as

“instances where administrators and faculty at certain Harvard Schools seemingly fell short in their

responsibility to uphold principles of open inquiry, civility, and respectful disagreement within

specific courses, programs, and events.”31

         27.       The report recommended comprehensive changes to “campus culture and student

experience” and “governance” at Harvard.32 The report called for changes in nine specific areas

related to “campus culture and student experience”: (1) admissions, (2) early student experiences,

(3) academics, (4) academic offerings, (5) “co-curricular activities and residential life,”

(6) “building a pluralistic community,” (7) religious life, (8) administrative infrastructure, and

(9) “protests, complaints, and discipline.”33 The report recommended that Harvard:

                   a. Create a dedicated leadership position “specifically tasked with addressing

                   antisemitism and anti-Israel bias”34;




30
    Announcement of Presidential Task Forces, Harvard Univ.: Off. of the President (Jan. 19,
2024), https://perma.cc/45XJ-4NSV. The Harvard Task Force first convened under the name
“Presidential Task Force on Combating Antisemitism,” with “Anti-Israeli Bias” added in June
2024 to better reflect its charge. Presidential Task Force on Combating Antisemitism and Anti-
Israeli Bias, Harvard Univ., Final Report 5 n.1 (Apr. 29, 2025), https://perma.cc/2QS7-4YE6.
31
     Final Report 26, 28, 191, supra n.30.
32
     Id. at 174-90 (formatting altered).
33
     Id. at 174-89 (formatting altered).
34
     Id. at 184.


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                   b. Provide students with “substantially more opportunities to learn about

                   antisemitism, Jewish history and culture, the history and politics of Israel, Zionism,

                   and the Israeli-Palestinian conflict,” and encourage classes to be co-taught where

                   possible to help students ground their views “in established facts, rigorous

                   scholarship, and adequately considered perspectives”35;

                   c. Develop a channel for informal grievances and anonymous complaints36;

                   d. Ensure “greater consistency in disciplinary procedures” across Harvard’s

                   schools37; and

                   e. Provide more oversight by tenured faculty over “educational programs and

                   instructor training.”38

           28.     The Harvard Task Force stated that “the resolutions and the reforms” must come

from Harvard.39 If “external parties . . . seek to compel adoption of some of [the] proposed

reforms,” the report observed, it “will make it more difficult for Harvard to fix itself.”40

           29.     Harvard is implementing recommendations in the report. As President Garber

stated after the report’s release, “Harvard cannot—and will not—abide bigotry” and is committed

to “address[ing] with determination at every level of the University” the challenges identified in




35
     Id. at 178.
36
     Id. at 188.
37
     Id.
38
     Id. at 29.
39
     Id. at 4.
40
     Id.


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the report and to “act[ing] decisively.”41 To that end, Harvard’s Academic Council (the president,

provost, deans, and other senior leaders) is “further developing and implementing new

recommendations” in order to “nurtur[e] a widespread sense of belonging and promot[e] respectful

dialogue; revis[e] and implement[] policies, procedures, and training; and strengthen[] academic and

residential life.”42 The University’s deans are reviewing recommendations concerning admissions,

appointments, curriculum, and orientation and training programs, and they have been directed to

submit “action plans” by June 2025 for “the College, the Graduate School of Arts and Sciences, and

each professional school.”43 The Office of the President and Provost “will oversee the

implementation of recommendations,” including “the establishment of a University-wide initiative

to promote and support viewpoint diversity.”44

                                             *       *       *

           I declare under penalty of perjury that the foregoing is true and correct.

Executed on June 2, 2025, at Cambridge, Massachusetts.

                                                         /s/ Peggy Newell
                                                         Peggy Newell
                                                         Harvard University
                                                         Vice President and Deputy to the President,
                                                         Office of the President and Provost




41
   Alan M. Garber, Update on Presidential Task Forces, Harvard Univ.: Off. of the President
(Apr. 29, 2025), https://perma.cc/57TR-CNQ4.
42
     Id.
43
     Id.
44
     Id.


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